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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA

LEN CLINE, individually, and on behalf of all
others similarly situated,

                       Plaintiff,                      No. 3:21-cv-00223-TJC-MCR

        v.

FRANK M. DEJIULIO & ASSOCIATES, INC.
d/b/a ASB FINANCIAL

                       Defendant.


                         FIRST AMENDED CLASS ACTION COMPLAINT

        Plaintiff Len Cline (“Plaintiff” or “Cline”) brings this Class Action Complaint and

Demand for Jury Trial against Defendant Frank M. Dejiulio & Associates, Inc. doing business as

ASB Financial (“Defendant” or “ASB Financial”) to stop the Defendant from violating the

Telephone Consumer Protection Act by placing multiple calls to consumers without consent,

including those who registered their phone numbers on the National Do Not Call registry

(“DNC”) and who expressly requested that the phone calls stop. Plaintiff also seeks injunctive

and monetary relief for all persons injured by Defendant’s conduct. Plaintiff Cline, for this

Complaint, alleges as follows upon personal knowledge as to himself and his own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by his attorneys.

                                            PARTIES

        1.     Plaintiff Len Cline is a resident of Satsuma, Florida.

        2.     Defendant is a company registered to business in Florida and throughout this

District.
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                                JURISDICTION AND VENUE

        3.     This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).

        4.     This Court has personal jurisdiction over the Defendant and venue is proper in

this District under 28 U.S.C. § 1391(b) because the Defendant is registered to do business in this

District and the wrongful conduct giving rise to this case was directed into and received in this

District.
                                       INTRODUCTION

        5.     As the Supreme Court recently explained, “Americans passionately disagree

about many things. But they are largely united in their disdain for robocalls. The Federal

Government receives a staggering number of complaints about robocalls—3.7 million

complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly

30 years, the people’s representatives in Congress have been fighting back.” Barr v. Am. Ass'n of

Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).

        6.     The National Do Not Call Registry provides for consumers to register their

telephone numbers and thereby indicate their desire not to receive telephone solicitations at those

numbers. See 47 C.F.R. § 64.1200(c)(2).

        7.     A listing on the DNC “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.”

Id.

        8.     When Congress enacted the TCPA in 1991, it found that telemarketers called

more than 18 million Americans every day. 105 Stat. 2394 at § 2(3).

        9.     By 2003, due to more powerful autodialing technology, telemarketers were

calling 104 million Americans every day. In re Rules and Regulations Implementing the TCPA

of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).



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         10.   The problems Congress identified when it enacted the TCPA have only grown

exponentially in recent years.

         11.   Industry data shows that the number of robocalls made each month increased

from 831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three

years.

         12.   According to online robocall tracking service “YouMail,” 4.4 billion robocalls

were placed in April 2021 alone, at a rate of 147.6 million per day. www.robocallindex.com (last

visited May 6, 2021).

         13.   The FCC also has received an increasing number of complaints about unwanted

calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in

2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.

         14.   “Robocalls and telemarketing calls are currently the number one source of

consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016),

statement of FCC chairman. 1
         15.   “The FTC receives more complains about unwanted calls than all other

complaints combined.” Staff of the Federal Trade Commission’s Bureau of Consumer

Protection, In re Rules and Regulations Implementing the Telephone Consumer Protection Act of

1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016). 2

                                 COMMON ALLEGATIONS

         16.   ASB Financial sells insurance and financial products to consumers, including

final expense insurance.

         17.   As part of its business practice, ASB Financial agents place solicitation calls to

consumers in order to solicit them to purchase Defendant’s products.



1
  https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
2
  https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
consumer-protection-federal-communications-commission-rules-
regulations/160616robocallscomment.pdf
                                                 3
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         18.    Unfortunately, these unsolicited phone calls are being made to consumers without

their express written consent, who do not have an existing business relationship with Defendant,

and to consumers who registered their phone number on the DNC.

         19.    In the careers page on the ASBFinancial.com website, Defendant informs

potential hires that it maintains a full-time telemarketing team:




         20.    In addition, numerous ASB Financial employees have posted complaints online

about the cold calling they had to engage in so they could generate business, including:




                                                                                    3




3
    https://www.indeed.com/cmp/Asb-Financial/reviews
                                                 4
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          21.   Furthermore, Defendant and its call center lack a sufficient stop call system that

results in the Defendant continuing to place unsolicited calls to consumers who have requested

from the Defendant that the phone calls should stop.

          22.   For example, in Plaintiff Cline’s case, Defendant placed 3 unsolicited calls to his

cell phone number registered on the national do not call registry, despite him never giving

Defendant his express written consent to receive such calls and despite requesting that Defendant

stop calling his cell phone.

          23.   Plaintiff Cline does not yet know whether the unsolicited phone calls were placed

by ASB Financial employees or a third-party call center that places calls on behalf of Defendant

ASB Financial.

          24.   Based on the foregoing, assuming that the calls were placed by a third-party call

center, that call center was authorized by ASB Financial to act on ASB Financial’s behalf with



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    Id.
5
    Id.
                                                 5
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respect to the telemarketing phone calls to consumers described above. In addition and/or in the

alternative, the third-party call center had apparent authority to act on Defendant’s behalf with

respect to the telemarketing phone calls to consumers described above. In addition and/or in the

alternative, Defendant ASB Financial ratified the making of the telemarketing calls described

above. Indeed, ASB Financial knew that a third-party telemarketer places outbound

telemarketing calls to consumers nationwide on behalf of ASB Financial, to sell insurance and

financial products, without prior express written consent, or otherwise had knowledge of facts

that would have led a reasonable person to investigate further, and yet ASB Financial ratified this
conduct without further investigation. In addition and/or in the alternative, ASB Financial was

negligent in supervising the making of the telemarketing calls described above. Accordingly,

ASB Financial is responsible for the making of the telemarketing calls described above.

       25.     The Federal Communication Commission has instructed that corporations such as

ASB Financial may not avoid liability by having their telemarketing outsourced:
       [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
       activities to unsupervised third parties would leave consumers in many cases
       without an effective remedy for telemarketing intrusions. This would particularly
       be so if the telemarketers were judgment proof, unidentifiable, or located outside
       the United States, as if[s] often the case. Even where third-party telemarketers are
       identifiable, solvent, and amenable to judgment limiting liability to the
       telemarketer that physically places the call would make enforcement in many
       cases substantially more expensive and less efficient, since consumers (or law
       enforcement agencies) would be required to sue each marketer separately in order
       to obtain effective relief. As the FTC notes, because “[s]ellers may have
       thousands of ‘independent’ marketers, suing one or a few of them is unlikely to
       make a substantive difference for consumer privacy.”
In re Joint Petition Filed by DISH Network, LLC et al. for Declaratory Ruling Concerning the

TCPA Rules, 28 FCC Rcd. 6574, at ¶ 37 (201) (“FCC 2013 Ruling”) (citations omitted).

       26.     In response to these unsolicited phone calls, Plaintiff Cline files this lawsuit

seeking monetary and injunctive relief requiring the Defendant to cease from violating the

Telephone Consumer Protection Act, as well as an award of statutory damages to the members of

the Classes and costs.


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                           PLAINTIFF CLINE’S ALLEGATIONS

        27.    Plaintiff Cline registered his cell phone number on the DNC on December 22,

2011.

        28.    Plaintiff Cline’s cell phone number is not associated with a business and is used

for personal use only.

        29.    On February 16, 2021, Plaintiff Cline received an unsolicited phone call to his

cell phone from or on behalf of Defendant from phone number 386-515-1893 at 4:27 PM.

        30.    Plaintiff answered this call and heard a noticeable pause before a live employee
came on the line.

        31.    The live employee claimed that he was working for (undecipherable) “Benefit.”

        32.    When Plaintiff asked the employee to repeat the company name, the employee

repeated the name too quickly for Plaintiff to hear clearly and went into a seemingly scripted

sales pitch regarding final expense insurance.

        33.    Plaintiff told the employee that he is not interested and that his phone number is

registered on the DNC.

        34.    Plaintiff then told the employee not to call his phone number again and ended the

call.

        35.    Based on an investigation conducted by Plaintiff’s attorneys, 386-515-1893

appears to be a spoofed number.

        36.    Despite a clear stop request, Plaintiff received a 2nd unsolicited call from or on

behalf of the Defendant on February 16, 2021 at 4:44 PM from the phone number 386-579-3542.

        37.    As with the previous call, this call was regarding final expense insurance.

        38.    The live agent began the call identifying the company name as (unintelligible)

“Benefit.”

        39.    Plaintiff asked the agent to repeat the company name, but he was not able to hear

the name clearly as it was spoken so quickly.



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       40.     Plaintiff feigned interest in order to determine which company was calling him in

order to get the calls stopped and to identify the telemarketer.

       41.     Plaintiff answered some qualifying questions and was told that the employee

would transfer him to a licensed insurance agent.

       42.     Plaintiff was then transferred to the insurance agent who identified himself as Ray

Espada from ASB Financial regarding final expense insurance.

       43.     Plaintiff hesitated when it came time to pay for the insurance plan, so when the

phone conversation ended, Espada sent Plaintiff an email with an introduction regarding ASB
Financial and an application to get final expense insurance from Sons of Norway.

       44.     The email that Plaintiff received clearly shows that Espada is an employee

working for ASB Financial:




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       45.      The website in the email myasbfinancial.com connects to a webpage which states

“Welcome to MAX. A Prospecting System Designed Exclusively for American Senior

Benefits.”




       46.      Based on an investigation by Plaintiff’s attorney, this phone number 386-579-

3542 appears to be a spoofed number.

       47.      On February 20, 2021 at 3:14 PM, Plaintiff received a 3rd unsolicited call from or

on behalf of Defendant from the phone number 386-520-1514.

       48.      The caller was also soliciting final expense insurance like the previous calls.

       49.      The agent identified the company name as “Senior Benefit.”

       50.      Plaintiff told the agent not to call again and hung up the phone.

       51.      Based on an investigation conducted by Plaintiff’s attorneys on February 21,

2021, 386-520-1514 also appears to be a spoofed number.

       52.      Plaintiff Cline believes that all 3 of the unsolicited calls were made by or on

behalf of ASB Financial, as each call was regarding final expense insurance and each call was

identified by a name followed by “Benefit.”

       53.      Plaintiff never provided consent to Defendant or its agents to place calls to his cell

phone number.

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       54.     Plaintiff was not looking to inquire about or purchase final expense insurance.

       55.     The unauthorized solicitation phone calls that Plaintiff received from or on behalf

of Defendant, as alleged herein, have harmed Plaintiff Cline in the form of annoyance, nuisance,

and invasion of privacy, and disturbed the use and enjoyment of his phone, in addition to the

wear and tear on the phone’s hardware (including the phone’s battery) and the consumption of

memory on the phone.

       56.     Seeking redress for these injuries, Plaintiff Cline, on behalf of himself and Classes

of similarly situated individuals, bring suit under the Telephone Consumer Protection Act, 47
U.S.C. § 227, et seq., which prohibits unsolicited phone calls to cellular telephones that are

registered on the DNC and otherwise prohibits companies from placing calls if they fail to

implement adequate policies and procedures for maintaining an internal do not call list.
                                    CLASS ALLEGATIONS
       57.     Plaintiff Cline brings this action pursuant to Federal Rules of Civil Procedure

23(b)(2) and 23(b)(3) and seeks certification of the following Classes:
       Do Not Call Registry Class: All persons in the United States who from four years prior
       to the filing of this action through class certification (1) Defendant (or an agent acting on
       behalf of the Defendant) called more than one time, (2) within any 12-month period, (3)
       where the person’s telephone number had been listed on the National Do Not Call
       Registry for at least thirty days, (4) for substantially the same reason Defendant called
       Plaintiff, and (5) for whom Defendant claims they obtained the person’s number in
       substantially the same manner as it obtained the Plaintiff’s number.
       Internal Do Not Call Class: All persons in the United States who from four years prior
       to the filing of this action through class certification (1) Defendant (or an agent acting on
       behalf of Defendant) called more than one time (2) within any 12-month period (3) for
       substantially the same reason Defendant called Plaintiff, and (4) for whom Defendant
       claims they obtained the person’s number in substantially the same manner as it obtained
       the Plaintiff’s number.

       58.     The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, their

subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or its

parents have a controlling interest and their current or former employees, officers and directors;


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(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Classes; (5) the legal representatives, successors or assigns of any such excluded

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released. Plaintiff Cline anticipates the need to amend the Class definitions following

appropriate discovery.

       59.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Classes such that joinder of all members is impracticable.

       60.     Commonality and Predominance: There are many questions of law and fact
common to the claims of the Plaintiff and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

       (a)     whether Defendant or its agents systematically placed multiple solicitation calls to

               Plaintiff and other consumers whose telephone numbers were registered with the

               DNC without first obtaining clear and conspicuous consent to place the calls;

       (b)     whether Defendant’s phone calls to Plaintiff and other consumers were made for

               telemarketing purposes;

       (c)     whether Defendant or its agents placed telemarketing solicitation calls to

               consumers after being instructed to stop calling;

       (d)     whether the Defendant or its agents engaged in telemarketing without

               implementing adequate internal policies and procedures for maintaining an

               internal do not call list;

       (e)     whether Defendant’s conduct constitutes a violation of the TCPA;

       (f)     whether members of the Classes are entitled to treble damages based on the

               willfulness of Defendant’s conduct.

       61.     Adequate Representation: Plaintiff Cline will fairly and adequately represent

and protect the interests of the Classes, and has retained counsel competent and experienced in

class actions. Plaintiff Cline has no interests antagonistic to those of the Classes, and Defendant

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has no defenses unique to Plaintiff. Plaintiff Cline and his counsel are committed to vigorously

prosecuting this action on behalf of the members of the Classes, and have the financial resources

to do so. Neither Plaintiff Cline nor his counsel have any interest adverse to the Classes.

        62.     Appropriateness: This class action is also appropriate for certification because

Defendant has acted or refused to act on grounds generally applicable to the Classes and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Classes and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Classes
uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

respect to the Classes as wholes, not on facts or law applicable only to Plaintiff Cline.

Additionally, the damages suffered by individual members of the Classes will likely be small

relative to the burden and expense of individual prosecution of the complex litigation

necessitated by Defendant’s actions. Thus, it would be virtually impossible for the members of

the Classes to obtain effective relief from Defendant’s misconduct on an individual basis. A class

action provides the benefits of single adjudication, economies of scale, and comprehensive

supervision by a single court.


                                FIRST CLAIM FOR RELIEF
                            Telephone Consumer Protection Act
                                 (Violation of 47 U.S.C. § 227)
                     (On Behalf of Plaintiff and the Do Not Registry Class)
        63.     Plaintiff incorporates by reference the allegations of paragraphs 1 through 62 as if

fully set forth herein.

        64.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or his telephone number on the national do-not-call registry of persons

who do not wish to receive telephone solicitations that is maintained by the federal government.”

        65.     Any “person who has received more than one telephone call within any 12-month


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period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c).

        66.     Defendant or its agents violated 47 C.F.R. § 64.1200(c) by initiating, or causing to

be initiated, telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call

Registry Class members who registered their respective telephone numbers on the National Do

Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is
maintained by the federal government.

        67.     Defendant or its agents violated 47 U.S.C. § 227(c)(5) because Plaintiff and the

Do Not Call Registry Class received more than one phone call in a 12-month period made by or

on behalf of the Defendant in violation of 47 C.F.R. § 64.1200, as described above.

        68.     As a result of Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call

Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are entitled, inter

alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.

        69.     To the extent Defendant’s misconduct is determined to be willful and knowing,

the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.


                              SECOND CLAIM FOR RELIEF
                            Telephone Consumer Protection Act
                                (Violation of 47 U.S.C. § 227)
                (On Behalf of Plaintiff and the Internal Do Not Registry Class)
        70.     Plaintiff incorporates by reference the allegations of paragraphs 1 through 62 as if

fully set forth herein.

        71.     Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for

telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing


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calls made by or on behalf of that person or entity. The procedures instituted must meet the

following minimum standards:
               (1) Written policy. Persons or entities making calls for telemarketing
               purposes must have a written policy, available upon demand, for
               maintaining a do-not-call list.
               (2) Training of personnel engaged in telemarketing. Personnel engaged in
               any aspect of telemarketing must be informed and trained in the existence
               and use of the do-not-call list.
               (3) Recording, disclosure of do-not-call requests. If a person or entity
               making a call for telemarketing purposes (or on whose behalf such a call is
               made) receives a request from a residential telephone subscriber not to
               receive calls from that person or entity, the person or entity must record
               the request and place the subscriber's name, if provided, and telephone
               number on the do-not-call list at the time the request is made. Persons or
               entities making calls for telemarketing purposes (or on whose behalf such
               calls are made) must honor a residential subscriber's do-not-call request
               within a reasonable time from the date such request is made. This period
               may not exceed thirty days from the date of such request. If such requests
               are recorded or maintained by a party other than the person or entity on
               whose behalf the telemarketing call is made, the person or entity on whose
               behalf the telemarketing call is made will be liable for any failures to
               honor the do-not-call request. A person or entity making a call for
               telemarketing purposes must obtain a consumer's prior express permission
               to share or forward the consumer's request not to be called to a party other
               than the person or entity on whose behalf a telemarketing call is made or
               an affiliated entity.
               (4) Identification of sellers and telemarketers. A person or entity making a
               call for telemarketing purposes must provide the called party with the
               name of the individual caller, the name of the person or entity on whose
               behalf the call is being made, and a telephone number or address at which
               the person or entity may be contacted. The telephone number provided
               may not be a 900 number or any other number for which charges exceed
               local or long distance transmission charges.
               (5) Affiliated persons or entities. In the absence of a specific request by
               the subscriber to the contrary, a residential subscriber's do-not-call request
               shall apply to the particular business entity making the call (or on whose
               behalf a call is made), and will not apply to affiliated entities unless the
               consumer reasonably would expect them to be included given the
               identification of the caller and the product being advertised.
               (6) Maintenance of do-not-call lists. A person or entity making calls for
               telemarketing purposes must maintain a record of a consumer's request not



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               to receive further telemarketing calls. A do-not-call request must be
               honored for 5 years from the time the request is made.

       72.     Defendant or their agents placed phone calls to Plaintiff and members of the

Internal Do Not Call Class without implementing internal procedures for maintaining a list of

persons who request not to be called by the entity and/or by implementing procedures that do not

meet the minimum requirements to allow Defendant to initiate telemarketing calls.

       73.     The TCPA provides that any “person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” bring a private action based on a violation of said

regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(5).

       74.     Defendant has, therefore, violated 47 U.S.C. § 227(c)(5). As a result of

Defendant’s conduct, Plaintiff and the other members of the Internal Do Not Call Class are each

entitled to up to $1,500 per violation.

                                          PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Cline individually and on behalf of the Classes, prays for the

following relief:

       75.     An order certifying this case as a class action on behalf of the Classes as defined

above; appointing Plaintiff Cline as the representative of the Classes; and appointing his

attorneys as Class Counsel;

       76.     An award of actual and/or statutory damages and costs;

       77.     An order declaring that Defendant’s actions, as set out above, violate the TCPA;

       78.     An injunction requiring Defendant to cease all unsolicited calling activity, and to

otherwise protect the interests of the Classes; and

       79.     Such further and other relief as the Court deems just and proper.

                                                JURY DEMAND

       Plaintiff Cline requests a jury trial.


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DATED this 6th day of May, 2021.            LEN CLINE, individually and on behalf of all
                                            others similarly situated,

                                            /s/ Avi R. Kaufman
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                                            Miami, Fl 33131
                                            Telephone: (877) 333-9427
                                            Facsimile: (888) 498-8946

                                            Counsel for Plaintiff and all
                                            others similarly situated

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 6, 2021, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF, and it is being served this day on all counsel of

record via transmission of Notice of Electronic Filing generated by CM/ECF.

                                                    /s/ Avi R. Kaufman




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